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       EXHIBIT 12
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                                   4624




  .~         Eli Mosley
             2017-03-27 14 46:57 UTC Q. i§>

  Oh snit



  .~         Eli Mosley
             2017-03-27 1447:02 UTC Q. i§>

  i founel someone wno streamed the whole thing


             Eli Mosley
  I
             2017-03-27 1447:06 UTC Q. i§>

  anel was right behinel me



  .~         Eli Mosley
             2017-03-27 1447:32 UTC Q. i§>

  @william.clark- PA we might have the video of the century



  .~         Eli Mosley
             2017-03-27 14 49:08 UTC Q. i§>

  https://www.youtube.com/Watcn?v=xOSKKbqYtUw there is another one too. im gonna try to finel it



  .~         Eli Mosley
             2017-03-27 14 49:24 UTC Q. i§>

  He is walking beh inel us liKe the whole ti me
